                                    Exhibit 6B
                     July 2, 2014 M. Hall Deposition Transcript




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      1                     MICHAEL HALL                                 1                       MICHAEL HALL
      2           IN THE UNITED STATES BANKRUPTCY COURT                  2   MICHAEL J. PATTWELL, ESQ.
      3            FOR THE EASTERN DISTRICT OF MICHIGAN                  3   Clark Hill, PLC
      4                                                                  4   212 East Grand River Avenue
      5                                                                  5   Lansing, Michigan 48906
      6   In re                     ) Chapter 9                          6        Appearing on behalf of the Retirement Systems
      7   CITY OF DETROIT, MICHIGAN,              ) Case No. 13-53846    7        for the City of Detroit.
      8                   Debtor. ) Hon. Steven W. Rhodes                8
      9                                                                  9
     10   __________________________________                            10
     11                                                                 11   STEPHEN C. HACKNEY, ESQ.
     12                                                                 12   Kirkland & Ellis LLP
     13        The Videotaped Deposition of MICHAEL HALL,               13   300 North LaSalle
     14        Taken at 1114 Washington Boulevard,                      14   Chicago, Illinois 60654
     15        Detroit, Michigan,                                       15        Appearing on behalf of Syncora Guarantee Inc.
     16        Commencing at 8:57 a.m.,                                 16        and Syncora Capital Assurance Inc.
     17        Wednesday, July 2, 2014,                                 17
     18        Before Kathryn L. Janes, CSR-3442, RMR, RPR.             18
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      1                       MICHAEL HALL                               1                     MICHAEL HALL
      2   APPEARANCES:                                                   2   VINCENT J. MARRIOTT, III, ESQ.
      3                                                                  3   Ballard Spahr LLP
      4   DEBORAH KOVSKY-APAP, ESQ.,                                     4   1735 Market Street
      5   LESLEY S. WELWARTH, ESQ.                                       5   51st Floor
      6   Pepper Hamilton LLP                                            6   Philadelphia, Pennsylvania 19103
      7   4000 Town Center                                               7        Appearing on behalf of Hypothekenbank Frankfurt
      8   Suite 1800                                                     8        AG; Hypothekenbank Frankfurt International S.A.;
      9   Southfield, Michigan 48075                                     9        and Erste Europaische Pfandbriefund
     10        Appearing on behalf of the Debtor.                       10        Kommunalkreditbank Aktiengelsellschaft in
     11                                                                 11        Luxemburg S.A.
     12                                                                 12
     13                                                                 13
     14                                                                 14
     15                                                                 15   MARK R. JAMES, ESQ.
     16   DAN BARNOWSKI, ESQ.                                           16   Williams, Williams, Rattner & Plunkett, P.C.
     17   Dentons US LLP                                                17   380 North Old Woodward Avenue
     18   1301 K Street, NW                                             18   Suite 300
     19   Suite 600, East Tower                                         19   Birmingham, Michigan 48009
     20   Washington, DC 20005-3364                                     20        Appearing on behalf of the Financial Guaranty
     21        Appearing on behalf of the Retiree Committee.            21        Insurance Company.
     22                                                                 22
     23                                                                 23
     24                                                                 24
     25                                                                 25

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      1                      MICHAEL HALL                            1                    MICHAEL HALL
      2        had received over 2,500 applicants in connection      2   A. Right.
      3        with a recent job posting; isn't that correct?        3   Q. Okay. But not from -- they've not been
      4   A. That's correct.                                         4      previously employed by other cities?
      5    Q. Do you know how many applications per City             5   A. That's correct.
      6        opening the City has been getting on average          6   Q. Okay. With respect to City employees that have
      7        since you started?                                    7      left the City, do you know generally whether
      8   A. No.                                                     8      they're leaving the City for other municipalities
      9    Q. Is it fair to say that the City generally gets a       9      or for the private sector?
     10        sizeable response to any openings it does post?      10               MS. KOVSKY-APAP: Objection,
     11   A. It depends on the opening and the qualifications       11      foundation.
     12        for those people.                                    12   A. Don't have the data to support an answer.
     13    Q. I take it, the more specialized positions, you        13   BY MR. HACKNEY:
     14        don't see the thousands of applications --           14   Q. Okay. Don't know one way or the other?
     15   A. That's correct.                                        15   A. That's correct.
     16    Q. -- is that your point?                                16   Q. Did Detroit eliminate the residency requirements
     17   A. That's correct.                                        17      for police and fire employees?
     18    Q. Have you seen any change in the numbers of            18   A. Yes.
     19        applications that you've been getting for similar    19   Q. When did it do that?
     20        types of positions during your tenure here or has    20   A. I don't recall the date.
     21        it been fairly consistent?                           21   Q. Since you've started?
     22   A. During my tenure, it's been fairly consistent.         22   A. Oh, no.
     23    Q. Where do you -- and as far as you can tell, where     23   Q. Before?
     24        do new City employees generally come from; are       24   A. Yes.
     25        they coming from the private sector or are they      25   Q. Oh, it was something you -- you learned when you

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      1                     MICHAEL HALL                             1                    MICHAEL HALL
      2        coming from other cities?                             2      came to the job?
      3   A. Haven't done --                                         3   A. That's correct.
      4              MS. KOVSKY-APAP: Objection. Could you           4   Q. Do you know if it had happened in 2013 or is this
      5        just clarify, do you mean where do they live          5      something that goes further --
      6        geographically?                                       6   A. Goes --
      7   BY MR. HACKNEY:                                            7   Q. -- back?
      8   Q. Sorry, in their prior employer?                         8   A. -- it goes back, further back.
      9   A. Okay. That would depend upon the jobs that these        9   Q. It goes before the EM even?
     10        people are applying for.                             10   A. Before the EM.
     11   Q. Okay. Do you have a sense of that or is it             11   Q. Oh, has anyone ever told you why that residency
     12        something that you've just not studied?              12      requirement was changed?
     13   A. The majority of our jobs that we've hired for this     13   A. No.
     14        year have been in my police and fire, EMTs, bus      14   Q. I just want to talk briefly about union
     15        drivers. Those have been the majority of openings    15      negotiations if we could. Do you agree that the
     16        in seasonal workers, so most of those people are     16      unions carry substantial influence in the city of
     17        coming to us not from other municipalities but,      17      Detroit?
     18        you know, from the public sector.                    18               MS. KOVSKY-APAP: Objection, form.
     19   Q. Oh, from --                                            19   A. Yes.
     20   A. Excuse me, from the cities, not employed by the        20   BY MR. HACKNEY:
     21        cities, but just from the communities.               21   Q. You have personally negotiated with unions during
     22   Q. Okay. Let me make sure I understand. They have         22      your career both here and at GM; isn't that
     23        been coming from cities --                           23      correct?
     24   A. From all around.                                       24   A. Correct.
     25   Q. From all around?                                       25   Q. And you would agree that they fight hard for

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      1                       MICHAEL HALL                           1                     MICHAEL HALL
      2        their members in their negotiations with you,         2      the communications.
      3        correct?                                              3                MS. KOVSKY-APAP: But his state of mind
      4    A. Correct.                                               4      is --
      5    Q. And you would agree they do a good job                 5                MR. HACKNEY: I don't know what's
      6        representing their membership's interests,            6      informing his state of mind.
      7        correct?                                              7                MS. KOVSKY-APAP: To the extent that
      8    A. They do.                                               8      his state of mind or what he understands about
      9    Q. Isn't it true that the unions have been                9      what the unions will or will not do is based on
     10        withholding their support for the grand bargain      10      information that has been conveyed to him through
     11        until they're able to strike a collective            11      the mediation process. Our position is that that
     12        bargaining agreement with the city?                  12      is covered by the mediation order. That's not a
     13                MS. KOVSKY-APAP: Objection, foundation       13      state of mind, that's what is his understanding of
     14        and form.                                            14      the facts and the facts are conveyed through the
     15    A. Yes.                                                  15      mediation process.
     16    BY MR. HACKNEY:                                          16                MR. HACKNEY: I -- I disagree with you
     17    Q. Okay. And so it's basically you can't get the         17      because I'm not asking about what created the
     18        unions to come out publicly for the grand bargain    18      state of mind, I'm asking about the state of mind,
     19        until you strike the collective bargaining           19      so it's a difference. It could be that he's
     20        agreement with them, correct?                        20      wrongly assuming that, it could be that it's a
     21                MS. KOVSKY-APAP: Objection, calls for        21      coincidence that every time the union announces a
     22        speculation.                                         22      collective bargaining agreement, they then support
     23                And I would also caution you to the          23      the grand bargain. But are you going to stick
     24        extent that this would call for disclosure of        24      with this instruction?
     25        anything that's been discussed privately in          25                MS. KOVSKY-APAP: To the extent that it

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      2        mediation, it needs to remain confidential, and I     2      would require him to disclose and I appreciate
      3        would direct you not to answer.                       3      that --
      4    A. I can't answer the question.                           4                MR. HACKNEY: I'm not -- I'm not
      5    BY MR. HACKNEY:                                           5      telling him to disclose anything.
      6    Q. Okay. Well, don't tell me what people said,            6                MS. KOVSKY-APAP: -- to the extent that
      7        okay, I want to just ask your understanding.          7      the only source of his understanding is what he
      8        Your understanding is that the unions will not        8      has been told in mediation, I believe that that is
      9        come out in public support of the grand bargain       9      problematic and I would -- I would ask that he not
     10        until they have reached a new collective             10      answer.
     11        bargaining agreement with the City, correct?         11                MR. HACKNEY: Okay.
     12                MS. KOVSKY-APAP: Objection to the            12   BY MR. HACKNEY:
     13        extent that what he understands is based on what     13   Q. So are you going to follow your counsel's
     14        he learned through the mediation process, it's       14      instruction?
     15        covered by the mediation order.                      15   A. Yes, sir.
     16                I direct you not to answer.                  16   Q. Okay. So I take it, you will not tell me
     17                MR. HACKNEY: Judge Rhodes has said on        17      anything -- anything that you have communicated
     18        the record that state of mind of participants in     18      as part of the mediation, correct?
     19        the mediation is not protected by the mediation      19   A. Repeat the question.
     20        order. He said it to me at the pretrial              20   Q. You will not tell me any -- any communications
     21        conference when we were discussing the subject of    21      you've had as part of the mediation, correct?
     22        how you could prove up different things about        22   A. Correct.
     23        different aspects of the case. So he said on the     23   Q. And you will also not tell me any thoughts that
     24        record, well, I suppose the City could ask someone   24      you've had as a result of the mediation; is that
     25        about their state of mind separate and apart from    25      correct?

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      1                      MICHAEL HALL                            1                      MICHAEL HALL
      2    A. That's correct.                                        2       mediation and what was covered by mediation, then
      3    Q. So to the extent I ask you about judgments that        3       I don't really see how he can, if he can't -- if
      4        you've drawn that -- that result in part from         4       he can't separate those.
      5        communications in the mediation, you will not         5   BY MR. HACKNEY:
      6        tell them to me, correct?                             6   Q. So let me go back, Mr. Hall, do you know what the
      7    A. That's correct.                                        7       grand bargain is when I refer to the grand
      8    Q. Okay.                                                  8       bargain?
      9                MS. KOVSKY-APAP: I would just like to         9   A. The grand bargain? Yes.
     10        clarify, if what you are asking from him is his      10   Q. You know that's the term that's used to describe
     11        judgment that he has drawn that is separate and      11       the -- the deal where the art and the Art
     12        independent of information conveyed to him           12       Institute is conveyed to a public trust and there
     13        directly in mediation, I think that's a separate     13       are monies that come in that are -- that go into
     14        issue, but we want to be cautious and mindful of     14       the -- the pensions?
     15        the Court's instruction that the mediation order     15   A. Yes.
     16        is an order that is not waivable.                    16   Q. Going into your negotiations with the unions,
     17                MR. HACKNEY: Right, because the City         17       prior to communicating with them, was it your
     18        has been very scrupulous about observing the         18       assumption that the unions would withhold their
     19        mediation order and it just wants to continue that   19       support for the grand bargain until they were
     20        track record of careful adherence to the terms of    20       able to strike a collective bargaining agreement
     21        the mediation order.                                 21       with the City?
     22                MS. KOVSKY-APAP: I don't think               22   A. I had no assumptions.
     23        that requires a response.                            23   Q. Okay. So is your understanding with respect to
     24                MR. HACKNEY: I guess my question to          24       whether the unions will support the grand
     25        you, Counsel, is to the extent that he has a         25       bargain, you know, only after they've struck a

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      2        judgment that's based in part on things that were     2      collective bargaining agreement, is that based
      3        told to him in the mediation, I take it, you will     3      exclusively on things that were told to you by
      4        also instruct him not to respond?                     4      the union negotiators?
      5                MS. KOVSKY-APAP: If you want to ask           5   A. All those conversations have been in the mediation
      6        him his state of mind as to whether he is             6      process.
      7        optimistic about a particular outcome or something    7   Q. I understand that, but I just want to make sure
      8        to that effect, a state of mind, but you're asking    8      your understanding of what the unions will and
      9        him factual information as to what the unions will    9      will not do when it comes to recommending the
     10        or will not do, and the only possible source of      10      grand bargain, that's based exclusively on things
     11        that information would be the mediation process.     11      you've learned in the mediation?
     12                MR. HACKNEY: But I just want to              12   A. Correct.
     13        clarify so I don't have to waste the witness's       13   Q. You are aware -- isn't it correct that there has
     14        time. If his state of mind is impacted in part by    14      been no union that has come out publicly in
     15        something he was told in the mediation process,      15      support of the grand bargain prior to reaching an
     16        you will direct him not to answer the question,      16      agreement in principle with the City; isn't that
     17        correct?                                             17      correct?
     18                MS. KOVSKY-APAP: If he can separate          18   A. I'm not sure.
     19        his own mental impressions and his own state of      19   Q. Do you agree that the unions' support of the
     20        mind from facts that were conveyed to him and        20      grand bargain is important to getting their
     21        information that was conveyed to him in the          21      members to vote in favor of the Plan of
     22        negotiations that took place under the scope of      22      Adjustment --
     23        the mediation order, then certainly, he can answer   23              MS. KOVSKY-APAP: Objection.
     24        to that extent. But to the extent that answering     24   BY MR. HACKNEY:
     25        would effectively reveal what he learned in          25   Q. -- based on your experience with these unions?


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